    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.1 Filed 03/31/21 Page 1 of 28




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                             INDICTMENT

JEMAR AHTON MASON,
DAVID KURBANOV,
DENNIS LYNN CARTWRIGHT, JR.,
ANDRE JACKSON, and
JAMES WILLIAMS,

                  Defendants.
_____________________________________/

      The Grand Jury charges:

                                INTRODUCTION

      At all times relevant to this Indictment:

                          Defendants and Related Entities

      1.     DAVID KURBANOV is a resident of Wyoming, Michigan.              DAVID

KURBANOV was and is the registered agent for In A Minute Entertainment, LLC

and Kurbanov Communications, LLC.

      2.     JEMAR AHTON MASON is a resident of Grand Rapids, Michigan.

JEMAR AHTON MASON was KURBANOV’s business partner in In a Minute

Entertainment, LLC.

      3.     DAVID KURBANOV established In A Minute Entertainment, LLC in

2015. In a Minute Entertainment, LLC’s stated purpose on its articles of organization

was to “plan and execute entertainment productions.” No annual statement was filed
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.2 Filed 03/31/21 Page 2 of 28




for In a Minute Entertainment, LLC from the time of its incorporation until on or

about October 6, 2020. The registered office of In a Minute Entertainment, LLC is in

Kent County, in the Western District of Michigan.

        4.       DAVID KURBANOV established Kurbanov Communications, LLC in

2015.         Kurbanov Communications, LLC’s stated purpose on its articles of

organization was to “facilitate distribution of cellular devices.” No annual statement

was filed for Kurbanov Communications, LLC from the time of its incorporation until

on or about September 9, 2020. The registered office of Kurbanov Communications,

LLC is in Wyoming, Michigan, in the Western District of Michigan.

        5.       In June 2020, In A Minute Entertainment, LLC and Kurbanov

Communications, LLC were nonfunctional. The companies did not have legitimate

customers or employees. Neither company had an open business savings or checking

account.

        6.       DENNIS LYNN CARTWRIGHT, JR. is a resident of Grand Rapids,

Michigan.       CARTWRIGHT was and is the registered agent for Auto Den, LLC;

Cartwright Construction, LLC; Car Genie, LLC and several other companies.

        7.      ANDRE JACKSON is a resident of Fayetteville, Georgia. JACKSON

was the registered agent for Option Point Enterprises, LLC.            Option Point

Enterprises, LLC advertised that they obtained loans for clients “bigger than the

government.”

         8.      JACKSON also solicited investors for a Standby Letter of Credit

    (“SBLC”) program in which money was purportedly sent overseas for a period of
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.3 Filed 03/31/21 Page 3 of 28




WLPH. After that, the principle was allegedly returned to the investor, with

additional periodic high-yield profits to follow.

      9.    JAMES WILLIAMS is a resident of Dacula, Georgia.               JAMES

WILLIAMS operates Premier Accounting Services, LLC.             Premier Accounting

Services, LLC is an accounting firm. JAMES WILLIAMS is a business associate of

ANDRE JACKSON.

      10.   MBE Capital Partners is a non-bank, state finance company whose

loans are insured by the San Francisco Federal Reserve. MBE Capital Partners is

headquartered in New York.

         The Small Business Administration & The Coronavirus Aid, Relief,
                        and Economic Security Act

      11.    The Small Business Administration (“SBA”) is an executive branch

agency of the United States government that provides support to entrepreneurs and

small businesses. The mission of the SBA is to maintain and strengthen the nation’s

economy by enabling the establishment and viability of small business and by

assisting in the economic recovery of communities after disasters.

      12.    The SBA enables and provides for loans through banks, credit unions,

and other lenders. These loans have government-backed guarantees.

      13.    On March 13, 2020, President Donald Trump declared a national

emergency due to the COVID-19 pandemic.

      14.    The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was

a federal law enacted in or around March 2020 and designed to provide emergency

financial assistance to the millions of Americans who were suffering the economic
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.4 Filed 03/31/21 Page 4 of 28




effects caused by the COVID-19 pandemic. One source of relief provided by the

CARES Act was the authorization of up to $349 billion in forgivable loans to small

businesses for job retention and certain other expenses, through a program called the

Paycheck Protection Program (“PPP”). In or around April 2020, Congress authorized

over $320 billion in additional funding for PPP loans.

      15.    In order to obtain a PPP Loan, a business would submit a PPP loan

application, signed by an authorized representative of the business. The PPP loan

application required the business (through its authorized representative) to

acknowledge the program rules and make certain affirmative certifications regarding

its eligibility. In the application, the small business’ authorized representative was

required to provide, among other things, the business’s average monthly payroll

expenses and number of employees.         These figures were used to calculate the

business’s eligibility and the amount of money it could receive under the PPP. In

addition, businesses applying for a PPP loan were required to provide documentation

showing their payroll expenses.

      16.    PPP loan proceeds were required to be used by the business for certain

permissible expenses, such as payroll costs, interest on mortgages, rent, and utilities.

The PPP allowed the interest and principal on the PPP loan to be entirely forgiven

by the SBA if the business spent the loan proceeds on these items within a designated

period of time and used at least a certain percentage of the PPP loan for payroll

expenses.
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.5 Filed 03/31/21 Page 5 of 28




      17.    To gain access to funds through the PPP, small businesses applied

through financial institutions participating in the PPP and received the loans directly

from those financial institutions as the lender. The SBA oversaw the PPP and

guaranteed the loans issued by the lender.

      18.    Participating financial institutions required applicants for PPP loans to

provide truthful information, including truthful information about the business’s

operating expenses and how the PPP loan would be used, which information was

material to lenders’ approval, terms, and funding of loans. Data from the application,

including information about the borrower, total amount of the loan, number of

employees, and salaries was transmitted by the lender to the SBA in the course of

processing the loan.

 MASON and KURBANOV Apply for PPP Loans with the Assistance of JACKSON
                         and WILLIAMS

      19.    In or about June 2020, JEMAR AHTON MASON and DAVID

KURBANOV devised a scheme to fraudulently obtain PPP loans, which was joined

and supported by ANDRE JACKSON and JAMES WILLIAMS.

      20.    MASON and KURBANOV planned to apply for PPP loans for In a

Minute Entertainment, LLC and Kurbanov Communications, LLC, respectively.

      21.    MASON and KURBANOV planned to provide a portion of the PPP loan

proceeds to ANDRE JACKSON, who would purportedly invest them in a Standby

Letter of Credit (“SBLC”) program which would yield profits for JACKSON, MASON,

and KURBANOV
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.6 Filed 03/31/21 Page 6 of 28




      22.      ANDRE      JACKSON      introduced   MASON      and   KURBANOV        to

WILLIAMS so WILLIAMS could assist MASON and KURBANOV with applying for

PPP loans.

      23.      Specifically, WILLIAMS prepared fraudulent U.S. tax documents for

MASON and KURBANOV to support their PPP loan applications. WILLIAMS was

aware that MASON and KURBANOV were making false representations to induce

lenders to approve their PPP loans. WILLIAMS, MASON, and KURBANOV knew

that the tax documents WILLIAMS prepared included false representations

concerning the income, employees, and salaries of In a Minute Entertainment, LLC

and Kurbanov Communications, LLC.

      24.      On or about June 29, 2020, MASON and KURBANOV applied for a PPP

loan for In a Minute Entertainment, LLC from MBE Capital Partners. To apply for

the loan, they transmitted their application by wire communication from Michigan to

New York, where MBE Capital Partners is headquartered.

      25.      The loan application contained materially false and fraudulent

information, including:

            a. a statement that the company’s average monthly payroll was

               $317,877.00 when, in truth and in fact, it had no payroll expenses;

            b. a statement that the company had 52 employees, when, in truth and in

               fact, it had no employees;
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.7 Filed 03/31/21 Page 7 of 28




            c. a certification that MASON had not been convicted of a felony within

               the preceding five years when, in truth and in fact, MASON had been

               convicted of a felony on or about January 21, 2016;

            d. certifications that the loan proceeds would be used to retain workers

               and maintain payroll or make mortgage interest payments, lease

               payments, and utility payments when, in truth and in fact, MASON and

               KURBANOV sought the PPP loans for their own personal use and

               enrichment; and

            e. the application also included the fraudulent tax forms prepared by

               JAMES WILLIAMS to support the application.

      26.      On or about June 30, 2020, JEMAR AHTON MASON and DAVID

KURBANOV applied for a PPP loan for Kurbanov Communications, LLC from MBE

Capital Partners. To apply for the loan, they transmitted their application by wire

communication from Michigan to New York, where MBE Capital Partners is

headquartered.

      27.      The loan application contained materially false and fraudulent

information, including:

            a. a statement that the company’s average monthly payroll was

               $280,150.00 when, in truth and in fact, it had no payroll expenses;

            b. a statement that the company had 37 employees, when, in truth and in

               fact, it had no employees;
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.8 Filed 03/31/21 Page 8 of 28




               c. certifications that the loan proceeds would be used to retain workers and

                  maintain payroll or make mortgage interest payments, lease payments,

                  and utility payments when, in truth and in fact, MASON and

                  KURBANOV sought the PPP loans for their own personal use and

                  enrichment; and

               d. the application also included the fraudulent tax forms prepared by

                  JAMES WILLIAMS to support the application.

         28.      The fraudulent loan applications for In a Minute Entertainment, LLC

and Kurbanov Communications, LLC induced MBE Capital Partners to approve both

loans.

         29.      On or about August 6, 2020, MBE Capital Partners transferred

$700,375.00,        which    represented    the   PPP    loan   proceeds   for   Kurbanov

Communications, LLC (SBA Loan #6365298007) to an account at JP Morgan Chase

(account ending in -6216) for which DAVID KURBANOV was the authorized signer.

         30.      On or about August 14, 2020, MBE Capital Partners transferred

$794,692.00, which represented the PPP loan proceeds for In a Minute

Entertainment, LLC (SBA Loan #6603048009) to an account at Bloom Credit Union

(account ending in -6948) for which JEMAR AHTON MASON and DAVID

KURBANOV were the authorized signers.

                MASON and KURBANOV Misappropriate PPP Loan Proceeds at the
                 Direction and with the Assistance of JACKSON, WILLIAMS and
                                         CARTWRIGHT
    Case 1:21-cr-00069-RJJ ECF No. 1, PageID.9 Filed 03/31/21 Page 9 of 28




      31.   After receiving these two loans, JACKSON and WILLIAMS spoke with

MASON and KURBANOV about how to invest the PPP loan proceeds in JACKSON’s

SBLC program without being detected by authorities.

      32.   After receiving the PPP loan proceeds, in or about August 2020, through

and including September 2020, MASON and KURBANOV distributed the proceeds

of the two PPP loans, in part, to friends and family and labeled these payments as

“payroll” to conceal from authorities that they were misappropriating the loan funds

and that they had made false and misleading representations on their PPP loan

applications. PPP loan program rules limit the amount of PPP loan funds a business

can pay to any employee in a given month as wages to $8,330. Many of the payments

MASON and KURBANOV paid to individual family members in a given month

exceeded this amount.

      33.   MASON       and   KURBANOV      each   spoke   with   DENNIS     LYNN

CARTWRIGHT, JR. on multiple occasions about ways to ensure that their

misappropriation of the PPP loan proceeds would not come to law enforcement’s

attention. CARTWRIGHT counseled MASON and KURBANOV to disguise their

personal spending as payroll by paying with checks and writing “payroll” on them.

CARTWRIGHT further advised MASON on multiple occasions to avoid spending the

loan proceeds on frivolous items and to invest the fraud proceeds to generate

investment returns. CARTWRIGHT was aware when he counseled MASON that

investing PPP loan proceeds was a violation of the PPP loan terms.
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.10 Filed 03/31/21 Page 10 of 28




      34.     KURBANOV       made    the     following    transfers   from   Kurbanov

Communications,     LLC’s   PPP   loan     proceeds   (SBA    Loan    #6365298007)   to

CARTWRIGHT.        These transfers were in violation of the loan terms because

CARTWRIGHT was not an employee of Kurbanov Communications, LLC and the

payments exceeded the $8,330 limit that an employee may be paid in one month:

              a.    $450 on August 11, 2020, via Zelle;

              b.    $15,000 on August 11, 2020, via cashier’s check (made out to Auto

                    Den); and

              c.    $6,000 on August 13, 2020, via cashier’s check.

      35.     On or about August 19, 2020, MASON issued a check, drawn from the

loan proceeds obtained by In A Minute Entertainment, LLC, generated from SBA

Loan #6603048009, to Car Genie, LLC for $20,000.             Car Genie, LLC is a car

dealership owned and operated by DENNIS LYNN CARTWRIGHT, JR. and another

individual.

      36.     CARTWRIGHT is not and has never been an employee of Kurbanov

Communications, LLC or In A Minute Entertainment, LLC.                Furthermore, the

$20,000 check exceeded the $8,330 monthly limit on payroll distributions to any one

employee. CARTWRIGHT knew the payments he received from these companies

were from the fraudulent PPP loan proceeds.

      37.     On or about September 2, 2020, In A Minute Entertainment, LLC issued

a check to JAMES WILLIAMS, drawn from the loan proceeds generated from SBA

Loan #6603048009, in the amount of $70,000. The memo line of the check falsely
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.11 Filed 03/31/21 Page 11 of 28




indicated that it was “payroll,” in order to conceal MASON and KURBANOV’s

misappropriation of the funds and the fact that they had fraudulently obtained a PPP

loan.      WILLIAMS is not and has never been an employee of In A Minute

Entertainment, LLC. Further, the $70,000 check exceeded the $8,330 monthly limit

on payroll distributions to any one employee.

        38.    In or about August 2020, MASON and KURBANOV used at least

$349,000 of the PPP loan proceeds for their own personal purposes, including for

jewelry, travel expenses, legal fees, and payments to friends and family who never

worked for In A Minute Entertainment, LLC or Kurbanov Communications, LLC.

        39.    On or about August 11, 2020, KURBANOV signed a contract to

participate in an SBLC investment with ANDRE JACKSON.

        40.    On August 26, 2020, regarding the PPP loan proceeds, JACKSON told

MASON, “return that money within an eight-week period of time, they can say

nothing to you.” JACKSON said that once MASON and KURBANOV provided him

with funds from their PPP loans, he would return the money to them within 35 days,

so that they could return it to the lender. JACKSON further said that “payouts”

would begin 55 days later.

        41.    On August 27, 2020, MASON asked WILLIAMS for advice regarding

investing $500,000 of PPP loan proceeds in the SBLC program with JACKSON.

WILLIAMS told MASON that he could avoid taxes by keeping the money overseas,

but not to deal with small banks overseas as they could “get into money laundering

issues.”
  Case 1:21-cr-00069-RJJ ECF No. 1, PageID.12 Filed 03/31/21 Page 12 of 28




      42.   On August 27, 2020, JACKSON directed KURBANOV and MASON to

wire $500,000 overseas via a “global wire.” MASON and KURBANOV attempted to

send the money to the wrong account and the wire transfer was unsuccessful.
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.13 Filed 03/31/21 Page 13 of 28




                                   COUNT 1
                      (Conspiracy to Commit Wire Fraud)

      The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

      From in or about June 2020 to in or about December 2020, in Kent County, in

the Southern Division of the Western District of Michigan, and elsewhere,

                             JEMAR AHTON MASON,
                               DAVID KURBANOV,
                              ANDRE JACKSON, and
                               JAMES WILLIAMS

conspired with each other and with persons known and unknown to the Grand Jury,

to devise a scheme and artifice to defraud and to obtain money from the SBA through

MBE Capital Partners by means of false and fraudulent pretenses, representations,

and promises using wire communications in interstate commerce, and the scheme

and artifice related to and involved Paycheck Protection Program loans, a benefit

authorized, transferred, disbursed, or paid in connection with a presidentially

declared emergency.

                            Object of the Conspiracy

      The principal object of the conspiracy was to obtain money from the Small

Business Administration’s PPP loan program by means of false and fraudulent

pretenses and representations to unlawfully enrich themselves, including by

converting to their own personal use the PPP loan proceeds fraudulently obtained

from the SBA, which were dispensed by MBE Capital Partners.
  Case 1:21-cr-00069-RJJ ECF No. 1, PageID.14 Filed 03/31/21 Page 14 of 28




18 U.S.C. § 1349
18 U.S.C. § 1343
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.15 Filed 03/31/21 Page 15 of 28




                                     COUNT 2
                                   (Wire Fraud)

      The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

      From in or about June 2020 to in or about November 2020, in Kent County, in

the Southern Division of the Western District of Michigan, and other places,

                             JEMAR AHTON MASON,
                               DAVID KURBANOV,
                              ANDRE JACKSON and
                               JAMES WILLIAMS

knowingly devised a scheme and artifice to defraud and to obtain money from the

SBA through MBE Capital Partners by means of false and fraudulent pretenses,

representations, and promises. The scheme and artifice related to and involved

Paycheck Protection Program loans, a benefit authorized, transferred, disbursed, or

paid in connection with a presidentially declared emergency.

                                     The Wires

      For the purpose of executing the scheme and artifice to defraud, the defendants

transmitted and caused to be transmitted certain writings, signs, signals, and sounds

in interstate commerce by means of a wire communication. Specifically, on or about

the dates indicated, the defendants transmitted, and caused to be transmitted, the

following interstate wire communications in furtherance of the scheme:

   On or About                                 Description

 June 29, 2020        MASON and KURBANOV electronically transmitted by wire
                      communication a PPP loan application for In a Minute
                      Entertainment, LLC to MBE Capital Partners
  Case 1:21-cr-00069-RJJ ECF No. 1, PageID.16 Filed 03/31/21 Page 16 of 28




June 30, 2020      MASON and KURBANOV electronically transmitted by wire
                   communication a PPP loan application for Kurbanov
                   Communications, LLC to MBE Capital Partners
August 6, 2020     MBE Capital Partners transferred $700,375.00, which
                   represented the PPP loan proceeds for Kurbanov
                   Communications, LLC (SBA Loan #6365298007) to an
                   account at JP Morgan Chase (account ending in -6216) for
                   which DAVID KURBANOV was the authorized signer
August 14, 2020    MBE Capital Partners transferred $794,692.00, which
                   represented the PPP loan proceeds for In a Minute
                   Entertainment, LLC (SBA Loan #6603048009) to an account
                   at Bloom Credit Union (account ending in -6948) for which
                   JEMAR AHTON MASON and DAVID KURBANOV were the
                   authorized signers
August 27, 2020    MASON and KURBANOV attempted to transfer by wire
                   $500,000 of the PPP loan proceeds for Kurbanov
                   Communications, LLC (SBA Loan #6365298007) from
                   KURBANOV’s account at JP Morgan Chase (account ending
                   in -6216) to a foreign bank account, at the direction of ANDRE
                   JACKSON (transaction #654570336430001)


18 U.S.C. § 1343
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.17 Filed 03/31/21 Page 17 of 28




                                 COUNT 3
           (Conspiracy to Commit Concealment Money Laundering)

       The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

       From in or about June 2020 until in or about December 2020, in Kent County,

in the Southern Division of the Western District of Michigan, and elsewhere,

                             JEMAR AHTON MASON,
                               DAVID KURBANOV,
                          DENNIS LYNN CARTWRIGHT, JR.,
                              ANDRE JACKSON, and
                                JAMES WILLIAMS

knowingly combined, conspired, confederated, and agreed with each other and with

other persons known and unknown to the Grand Jury to knowingly conduct and

attempt to conduct financial transactions affecting interstate commerce, which

involved the proceeds of a specified unlawful activity, that is, wire fraud, in violation

of 18 U.S.C. § 1343, as charged in Count 2, of this Indictment, knowing that the

transactions were designed in whole or in part to conceal and disguise the nature,

location, source, ownership, and control of the proceeds of that specified unlawful

activity, and that while conducting and attempting to conduct such financial

transactions, knew that the property involved in the financial transactions

represented the proceeds of some form of unlawful activity.


18 U.S.C. § 1956(h)
18 U.S.C. § 1956(a)(1)(B)(i)
18 U.S.C. §§ 1956(c)(1) (2), (3), (4), (7), (9)
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.18 Filed 03/31/21 Page 18 of 28




                               COUNT 4
  (Attempting to Engage in a Monetary Transaction in Property Derived
       from Specified Unlawful Activity and Aiding and Abetting)

      The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

      On or about August 27, 2020, in Kent County, in the Southern Division of the

Western District of Michigan, and elsewhere,

                             JEMAR AHTON MASON,
                             DAVID KURBANOV, and
                               ANDRE JACKSON

knowingly attempted to engage in, and aided and abetted the engaging in, a monetary

transaction, in and affecting commerce, in criminally derived property of a value

greater than $10,000 that was derived from a specified unlawful activity, that is, wire

fraud, in violation of 18 U.S.C. § 1343, as charged in Count 2 of this Indictment.

Specifically, MASON and KURBANOV attempted to transfer by wire $500,000 of

fraudulently obtained PPP loan proceeds from a bank account (ending in -6216) at JP

Morgan Chase Bank, a financial institution, to a foreign bank account at the direction

of ANDRE JACKSON (identified as transaction #654570336430001).


18 U.S.C. § 1957
18 U.S.C. § 2
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.19 Filed 03/31/21 Page 19 of 28




                               COUNT 5
  (Attempting to Engage in a Monetary Transaction in Property Derived
       from Specified Unlawful Activity and Aiding and Abetting)

      The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

      On or about September 2, 2020, in Kent County, in the Southern Division of

the Western District of Michigan, and elsewhere,

                           JEMAR AHTON MASON and
                              DAVID KURBANOV

knowingly attempted to engage in, and aided and abetted the attempted engaging in,

a monetary transaction, in and affecting commerce, in criminally derived property of

a value greater than $10,000 that was derived from a specified unlawful activity, that

is, wire fraud, in violation of 18 U.S.C. § 1343, as charged in Count 2 of this

Indictment. Specifically, MASON and KURBANOV attempted to withdraw $70,000

by drafting check #1001 from In a Minute Entertainment, LLC’s checking account

(ending in -6948) at Bloom Credit Union, a financial institution, made payable to

JAMES WILLIAMS.



18 U.S.C. § 1957
18 U.S.C. § 2
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.20 Filed 03/31/21 Page 20 of 28




                               COUNT 6
  (Attempting to Engage in a Monetary Transaction in Property Derived
                   from Specified Unlawful Activity)

      The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

      On or about September 3, 2020, in Kent County, in the Southern Division of

the Western District of Michigan, and elsewhere,

                                  JAMES WILLIAMS

knowingly attempted to engage in a monetary transaction, in and affecting

commerce, in criminally derived property of a value greater than $10,000 that was

derived from a specified unlawful activity, that is, wire fraud, in violation of 18 U.S.C.

§ 1343, as charged in Count 2 of this Indictment. Specifically, WILLIAMS attempted

to deposit $70,000 into his account (ending in -5643) at Navy Federal Credit Union,

a financial institution, in the form of check #1001 that was drawn on In a Minute

Entertainment, LLC’s checking account at Bloom Credit Union that WILLIAMS

received from JEMAR AHTON MASON and DAVID KURBANOV.



18 U.S.C. § 1957
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.21 Filed 03/31/21 Page 21 of 28




                              COUNT 7
(Engaging in a Monetary Transaction in Property Derived from Specified
                          Unlawful Activity)

      The Grand Jury realleges and incorporates by reference the allegations made

above in paragraphs 1 through 38 as if fully set forth herein.

      On or about August 11, 2020, in Kent County, in the Southern Division of the

Western District of Michigan, and elsewhere,

                                DAVID KURBANOV

knowingly engaged in a monetary transaction, in and affecting commerce, in

criminally derived property of a value greater than $10,000 that was derived from a

specified unlawful activity, that is, wire fraud, in violation of 18 U.S.C. § 1343, as

charged in Count 2 of this Indictment. Specifically, DAVID KURBANOV withdrew

$15,000 from an account (ending in -6216) at JP Morgan Chase, a financial

institution, by JP Morgan Chase Bank cashier’s check #9041421179, made payable

to Auto Den, LLC.



18 U.S.C. § 1957
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.22 Filed 03/31/21 Page 22 of 28




                              COUNT 8
(Engaging in a Monetary Transaction in Property Derived from Specified
                          Unlawful Activity)

             The Grand Jury realleges and incorporates by reference the allegations

made above in paragraphs 1 through 38 as if fully set forth herein.

On or about August 11, 2020, in Kent County, in the Southern Division of the Western

District of Michigan, and elsewhere,

                        DENNIS LYNN CARTWRIGHT, JR.

knowingly engaged in a monetary transaction, in and affecting commerce, in

criminally derived property of a value greater than $10,000 that was derived from a

specified unlawful activity, that is, wire fraud, in violation of 18 U.S.C. § 1343, as

charged in Count 2     of this Indictment.   Specifically, CARTWRIGHT deposited

$15,000 into an account ending -3608 at JP Morgan Chase Bank, a financial

institution, by JP Morgan Bank cashier’s check #9041421179 remitted by DAVID

KURBANOV).



18 U.S.C. § 1957
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.23 Filed 03/31/21 Page 23 of 28




                      FORFEITURE ALLEGATION 1
   (Counts 1 and 2 – Conspiracy to Commit Wire Fraud and Wire Fraud)

      The allegations contained in Count 1 and 2 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeitures pursuant

to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

      Pursuant to 18 U.S.C. § 981(a)(1)(C), upon conviction of the violation of 18

U.S.C. §§ 1349 and 1343 set forth in Count 1 and 2 of this Indictment, the defendants,

                               JEMAR AHTON MASON,
                                 DAVID KURBANOV,
                                ANDRE JACKSON, and
                                 JAMES WILLIAMS,

shall forfeit to the United States of America any property, real or personal, which

constitutes or is derived from proceeds traceable to the violation. The property to be

forfeited includes, but is not limited to, the following:

      1.     $615,767.39 U.S. currency seized from In A Minute Entertainment,

             LLC’s Bloom Credit Union account in the name of DAVID KURBANOV

             and JEMAR AHTON MASON (20-IRS-000362);

      2.     $5,797.56 U.S. currency seized from DAVID KURBANOV’s Fifth Third

             account (21-IRS-000003);

      3.     $502,002.06 U.S. currency seized from the JP Morgan Chase general

             ledger, previously held in Kurbanov Communication, LLC’s account (20-

             IRS-000363);

      4.     MONEY JUDGMENT: A sum of money equal to the difference between

             the total proceeds obtained from the offenses charged in Counts 1 and 2
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.24 Filed 03/31/21 Page 24 of 28




             and the amount of proceeds seized by the government listed in

             paragraphs 1, 2, and 3.     The government currently calculates this

             difference as $371,500.04; and

      5. SUBSTITUTE ASSETS: If any of the property described above, as a result

          of any act or omission of the defendants:

          a. cannot be located upon the exercise of due diligence;

          b. has been transferred or sold to, or deposited with, a third party;

          c. has been placed beyond the jurisdiction of the court;

          d. has been substantially diminished in value; or

          e. has been commingled with other property which cannot be divided

             without difficulty.

the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p) as incorporated by 28 U.S.C. § 2461(c).

18 U.S.C. § 981(a)(1)(C)
28 U.S.C. § 2461(c)
21 U.S.C. § 853(p)
18 U.S.C. § 1349
18 U.S.C. § 1343
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.25 Filed 03/31/21 Page 25 of 28




                       FORFEITURE ALLEGATION 2
     (Count 3 – Conspiracy to Commit Concealment Money Laundering)

      The allegations contained in Count 3 of this Indictment are hereby re-alleged

and incorporated by reference for the purpose of alleging forfeitures pursuant to 18

U.S.C. § 982(a)(2)(A).

      Pursuant to 18 U.S.C. § 982(a)(2)(A), upon conviction of the violation of 18

U.S.C. § 1956(h) set forth in Count 3 of this Indictment, the defendants,

                            JEMAR AHTON MASON,
                              DAVID KURBANOV,
                         DENNIS LYNN CARTWRIGHT, JR.,
                             ANDRE JACKSON, and
                               JAMES WILLIAMS,

shall forfeit to the United States of America any property, real or personal, involved

in such offense, or any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:

   1. $615,767.39 U.S. currency seized from In a Minute Entertainment, LLC’s

      Bloom Credit Union account in the name of DAVID KURBANOV and JEMAR

      AHTON MASON (20-IRS-000362);

   2. $5,797.56 U.S. currency seized from DAVID KURBANOV’s Fifth Third account

      (21-IRS-000003);

   3. $502,002.06 U.S. currency seized from the JP Morgan Chase general ledger,

      previously held in Kurbanov Communication, LLC’s account (20-IRS-000363);

   4. MONEY JUDGMENT: A sum of money equal to the difference between the

      total proceeds obtained from the offenses charged in Counts 1 and 2 and the
   Case 1:21-cr-00069-RJJ ECF No. 1, PageID.26 Filed 03/31/21 Page 26 of 28




      amount of proceeds seized by the government listed in paragraphs 1, 2, and 3.

      The government currently calculates this difference as $371,500.04; and

   5. SUBSTITUTE ASSETS: If any of the property described above, as a result of

      any act or omission of the defendants:

          a. cannot be located upon the exercise of due diligence;

          b. has been transferred or sold to, or deposited with, a third party;

          c. has been placed beyond the jurisdiction of the court;

          d. has been substantially diminished in value; or

          e. has been commingled with other property which cannot be divided

             without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p) as incorporated by 18 U.S.C. § 982(b)(1).



18 U.S.C. § 982(a)(2)(A)
21 U.S.C. § 853(p)
18 U.S.C. § 982(b)(1)
18 U.S.C. § 1956
     Case 1:21-cr-00069-RJJ ECF No. 1, PageID.27 Filed 03/31/21 Page 27 of 28




                       FORFEITURE ALLEGATION 3
   (Counts 4, 5 & 8: Attempting to Engage in a Monetary Transaction in
    Property Derived from Specified Unlawful Activity and Aiding and
 Abetting; Engaging in a Monetary Transaction in Property Derived from
           Specified Unlawful Activity and Aiding and Abetting)

        The allegations contained in Counts 4, 5 and 8 of this Indictment are hereby

re-alleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to 18 U.S.C. § 982(a)(2)(A).

        Pursuant to 18 U.S.C. § 982(a)(2)(A), upon conviction of the violation of 18

U.S.C. § 1957 set forth in Counts 4, 5 and 8 of this Indictment, the defendants,

                               JEMAR AHTON MASON,
                               DAVID KURBANOV, and
                                 ANDRE JACKSON,

shall forfeit to the United States of America any property, real or personal, involved

in such offense, or any property traceable to such property. The property to be

forfeited includes, but is not limited to, the following:

      Count                             Property to be Forfeited

 4              $500,000.00 of the $502,002.06 seized from the JP Morgan Chase
                general ledger, previously held in Kurbanov Communication,
                LLC’s account (ending in -6216);
 5&6            $70,000 of the $615,767.39 seized from In a Minute
                Entertainment, LLC’s Bloom Credit Union account in the name of
                DAVID KURBANOV and JEMAR AHTON MASON (ending in -
                6948);
 7&8            $15,000.00 of the $31,091.28 seized from the Auto Den, LLC bank
                account at JP Morgan Chase (ending in -3608);


18 U.S.C. § 982(a)(2)(A)
21 U.S.C. § 853(p)
18 U.S.C. § 982(b)(1)
18 U.S.C. § 1957
  Case 1:21-cr-00069-RJJ ECF No. 1, PageID.28 Filed 03/31/21 Page 28 of 28




                                              A TRUE BILL



                                              _____________________________
                                              GRAND JURY FOREPERSON
ANDREW BYERLY BIRGE
United States Attorney


_____________________________
KRISTIN M. PINKSTON
JONATHAN ROTH
Assistant United States Attorney
